EXHIBIT B
                                 STATE OF CONNECTICUT

                                    BY HIS EXCELLENCY

                                        NED LAMONT

                                EXECUTIVE ORDER NO. 7V

PROTECTION OF PUBLIC HEALTH AND SAFETY DURING COVID-19 PANDEMIC
  AND RESPONSE- SAFE WORKPLACES, EMERGENCY EXPANSION OF THE
                    HEALTHCARE WORKFORCE

WHEREAS, on March 10, 2020, I issued a declaration of public health and civil preparedness
emergencies, proclaiming a state of emergency throughout the State of Connecticut as a result of
the coronavirus disease 2019 (COVID-19) outbreak in the United States and confirmed spread in
Connecticut; and

WHEREAS, pursuant to such declaration, I have issued twenty-two (22) executive orders to
suspend or modify statutes and to take other actions necessary to protect public health and safety
and to mitigate the effects of the COVID-19 pandemic; and

WHEREAS, COVID-19 is a respiratory disease that spreads easily from person to person and
may result in serious illness or death; and

WHEREAS, the World Health Organization has declared the COVID-19 outbreak a pandemic;
and

WHEREAS, the risk of severe illness and death from COVID-19 appears to be higher for
individuals who are 60 years of age or older and for those who have chronic health conditions; and

WHEREAS, to reduce the spread of COVID-19, the United States Centers for Disease Control
and Prevention and the Connecticut Department of Public Health recommend implementation of
community mitigation strategies to increase containment of the virus and to slow transmission of
the virus, including cancellation of gatherings of ten people or more and social distancing in
smaller gatherings; and

WHEREAS, the critical need to limit the spread of COVID-19 requires the enforcement of
distancing and other protective measures in all workplaces; and

WHEREAS, numerous medical professionals, after having completed the educational
requirements for their profession, are permitted to temporarily practice their profession under the
supervision of a licensed practitioner prior to being licensed; and

WHEREAS, such professionals' ability to temporarily practice their profession may expire prior
to the end of the public health and civil preparedness emergency; and
WHEREAS, necessary public health protective measures enacted in response to the COVID-19
pandemic may prevent such professionals from completing their licensing requirements during the
public health and civil preparedness emergency; and

WHEREAS, to maintain and expand the healthcare workforce capacity for COVID-19 response
and mitigation efforts, it is necessary to allow such professionals to continue to work in such
temporary, supervised status for the duration of the declared civil preparedness and public health
emergency; and

WHEREAS, as a result of the dire economic effects of the necessary public health protective
measures enacted in response to the COVID-19 pandemic, an unprecedented number of
Connecticut residents have filed for unemployment benefits; and

WHEREAS, to reduce burdens on contributing employers whose employees have had to file
unemployment claims as a result of COVID-19, it is necessary to relieve those employers of the
amount of benefit payments charged to an employer's experience account; and

WHEREAS, there exists a compelling state interest in rapidly expanding the capacity of health
care professionals and facilities to provide care during the COVID-19 pandemic; and

WHEREAS, providing relieffrom liability for such health care professionals for good faith efforts
to provide care during the COVID-19 pandemic will greatly increase the state's ability to achieve
such an expansion;

NOW, THEREFORE, I, NED LAMONT, Governor of the State of Connecticut, by virtue of the
authority vested in me by the Constitution and the laws of the State of Connecticut, do hereby
ORDER AND DIRECT:

   1. Safe Workplaces in EssentiaG Businesses. Every workplace in the State of
      Connecticut shall take additional protective measures to reduce the risk of transmission
      of COVID-19 between and among employees, customers, and other persons such as
      delivery drivers, maintenance people or others who may enter the workplace. The
      Commissioner of Economic and Community Development, in consultation with the
      Commissioner of Public Health, shall issue legally binding statewide rules prescribing
      such additional protective measures no later than 5:00 p.m. on April 7, 2020. Such rules
      shall be mandatory throughout the state, for essential businesses and non profits and any
      other business or nonprofit permitted to operate, and shall supersede and preempt any
      current or future municipal order. Nothing in such rules or this order shall supersede
      Executive Order No. 7S, Section I, or the "Safe Stores" rules promulgated thereunder.

   2. Temporary Permits for Certain Health Care Providers Extended and Fees
      Waived. Sections 20-65k, 20-12b(b), 20-74d, 20-162o(c) and 20-195t of the
      Connecticut General Statutes are modified to waive any application fees for temporary
      permits and to extend the duration of the temporary permits for the health care
      professions governed thereunder (Athletic Trainer, Respiratory Care Practitioner,
      Physician Assistant, Occupational, Therapist/Assistants, Master Social Worker), for
   the duration of the public health and civil preparedness emergency, unless earlier
   modified or terminated. The Commissioner may issue any implementing order she
   deems necessary to effectuate this order.
3. Practice Before Licensure for Certain Health Care Profession Applicants and
   Graduates. The provisions in Sections 20-70(b )(1 ), 20-70(b )(2), 20-74bb(f), and 20-
   101 of the Connecticut General Statutes that permit practice prior to licensure by
   applicants and graduates for the health care professions governed thereunder (Physical
   Therapist, Physical Therapy Assistant, Radiographer, Registered Nurse, Nurse
   Practitioner, Clinical Nurse Specialist, Nurse Anesthetist), are modified to permit such
   practice for the duration of the public health and civil preparedness emergency, unless
   earlier modified or terminated. The Commissioner of Public Health may issue any
   implementing orders she deems necessary to effectuate this order.

4. Practice Before Licensure for Marital and Family Therapy Associates. Section 20-
   195f of the Connecticut General Statutes is modified to provide that, for the duration
   of the public health and civil preparedness emergency, unless earlier modified or
   terminated, no license shall be required to practice as a marital and family therapy
   associate, as defined in Section 20-195a(4), for a person who has completed a graduate
   degree program specializing in marital and family therapy offered by a regionally
   accredited institution of higher education or a postgraduate clinical training program
   accredited by the Commission on Accreditation for Marriage and Family Therapy
   Education and offered by a regionally accredited institution of higher education. The
   Commissioner may issue any implementing orders she deems necessary to effectuate
   this order.

5. Practice Before Licensure for Professional Counselor Associates. Section 20-
   195bb(c) of the Connecticut General Statutes is modified to permit a person who has
   completed the requirements in Section 20-195dd(b) to practice as a professional
   counselor associate without obtaining a license for the duration of the public health and
   civil preparedness emergency, unless earlier modified or terminated. The
   Commissioner may issue any implementing orders she deems necessary to effectuate
   this order.

6. Executive Order No. 7U, Section 1, Superseded - Protection from Civil Liability
   for Actions or Omissions in Support of the State's COVID-19 Response. Section 1
   of my prior Executive Order No. 7U concerning protection from civil liability for
   actions or omissions in support ofthe State's COVID-19 response is hereby superseded
   and replaced in its entirety by the following:

   Notwithstanding any provision of the Connecticut General Statutes or any other state
   law, including the common law, or any associated regulations, rules, policies, or
   procedures, any health care professional or health care facility shall be immune from
   suit for civil liability for any injury or death alleged to have been sustained because of
   the individual's or health care facility's acts or omissions undertaken in good faith while
   providing health care services in support of the State's COVID-19 response, including
       but not limited to acts or omtsswns undertaken because of a lack of resources,
       attributable to the COVID-19 pandemic, that renders the health care professional or
       health care facility unable to provide the level or manner of care that otherwise would
       have been required in the absence of the COVID-19 pandemic and which resulted in
       the damages at issue, provided that nothing in this order shall remove or limit any
       immunity conferred by any provision of the Connecticut General Statutes or other law.
       Such immunity shall not extend to acts or omissions that constitute a crime, fraud,
       malice, gross negligence, willful misconduct, or would otherwise constitute a false
       claim or prohibited act pursuant to Section 4-275 et seq. of the Connecticut General
       Statutes or 31 U.S.C. §§3729 et seq. The term "health care professional" means an
       individual who is licensed, registered, permitted, or certified in any state in the United
       States to provide health care services and any retired professional, professional with an
       inactive license, or volunteer approved by the Commissioner of the Department of
       Public Health or her designee. The term "health care facility" means a licensed or state
       approved hospital, clinic, nursing home, field hospital or other facility designated by
       the Commissioner of the Department of Public Health for temporary use for the
       purposes of providing essential services in support of the State's COVID-19 response.
       The immunity conferred by this order applies to acts or omissions subject to this order
       occurring at any time during the public health and civil preparedness emergency
       declared on March 10, 2020, including any period of extension or renewal, including
       acts or omissions occurring prior to the issuance of this order attributable to the
       COVlD-19 response effort.

Unless otherwise specified herein, this order shall take effect immediately and shall remain in
effect for the duration of the public health and civil preparedness emergency, unless earlier
modified or terminated by me.

Dated at Hartford, Connecticut, this 7th day of April, 2020.




                                                      Ned Lamont
                                                      Governor




By His Excellency's Command




Denise W. Merrill
Secretary of the State
Safe Workplace Rules for Essential Employers

 Safe WorkP-lace Rules for Essential EmP-loyers (IDECD/Content/Coronavirus-Business-
 Recovery/Safe-WorkP-lace-Rules-for-Essential-EmP-loyers)_




Provided by:
Connecticut DeP-artment of Economic and Community DeveloP-ment (/DECO)


Safe Workplace Rules for Essential Employers
Keeping your team members safe



General

 • Essential employees who are able to work from home SHOULD BE WORKING FROM HOME.

 • For employees who have traveled internationally in a region where COVID-19 is active, or have
   returned from a cruise, it is recommended to stay home and self-monitor for fourteen days,
   subsequent to returning.

 • Eliminate all non-essential workplace travel.

 • Distribute summaries of health insurance processes and procedures to employees.

 • Ensure that all employees that do not speak english as their first language are aware of
   procedures by communicating the procedures, either orally or in writing, in their native or
   preferred language.

 • Ensure that the facility has a sufficient number of employees to perform all measures listed
   here effectively and in a manner that ensures the safety of the public and employees.

 • Control access to external visitors including:

     o Prohibiting entry into the facility for non-essential visitors.

     o Interviewing approved visitors about their current health condition and recent travel
          history.

     o Using soap and water or within available supplies, hand sanitizer at point of entry to the
          facility.


Masks or Cloth Face Coverings Required
 • Each employee shall be required to wear a mask or other cloth material that covers his or her
   mouth and nose while in the workplace, except to the extent an employee is using break time
   to eat or drink. Employers shall issue such masks or cloth face coverings to their employees. In
   the event an employer is unable to provide masks or cloth face coverings to employees
   because of shortages or supply chain difficulties, employers must provide the materials
   and CDC tutorial (httP-s://www.cdc.gov/coronavirus/2019-ncov/P-revent-getting-sick/diy.:
   cloth-face-coverings.html) about how to create a cloth face covering
   (httP-s://www .cd c.govI co ro navi ru s/20 19-n covIP- reve nt-getting-sick/d iy-cl oth-face-
   coverings.html), or compensate employees for the reasonable and necessary costs employees
   expend on such materials to make their own masks or cloth face covering.

 • In workplace settings where employees are working alone in segregated spaces (i.e. cubicles
   with walls, private offices, etc.), employees may remove their masks. However, workers shall
   wear a mask or face covering from the time they enter the building until the time they arrive at
   their cubicle/work station and at any time they are leaving their work station and moving
   around common areas (i.e. in hallways and stairwells, going to the restroom or break room,
   etc.). For employees working in congregate settings (i.e. open manufacturing floors,
   warehouses, areas open to the public, shared offices, or similar settings), those workers shall
   wear a face covering as above, as well as when they are at their work station. In addition,
   continuous wearing of masks is not required in outdoor workspaces where employees do not
   regularly come within six feet of other employees.

 • Nothing in these rules shall require the use of a mask or cloth face covering by anyone for
   whom doing so would be contrary to his or her health or safety because of a medical
   condition.

 • If a person declines to wear a mask or cloth face covering because of a medical condition as
   described above, such person shall not be required to produce medical documentation
   verifying the stated condition.


Controlling contact between employees and other employees or customers

 • Companies should develop and implement practices for social distancing.

 • Social distancing means avoiding large gatherings and maintaining distance (approximately 6
   feet or 2 meters) from others.

 • Require all customers to wear cloth face coverings while on premises. Nothing in these rules
   shall prohibit a business from issuing face coverings to customers or other visitors upon or
   prior to entry. Nothing in these rules shall require the use of a mask or cloth face covering by
   anyone for whom doing so would be contrary to his or her health or safety due to a medical
   condition, by a child in a child care setting, anyone under the age of two years, or by an older
  child if the parent, guardian or person responsible for the child is unable to place the mask
  safely on the child's face.

• If a person declines to wear a mask or cloth face covering because of a medical condition as
  described above, such person shall not be required to produce medical documentation
  verifying the stated condition.

• In-person meetings should be avoided as much as possible. Teleconferencing may be used by
  site-essential staff, provided they are dialing in from separate areas. Where in-person meetings
  occur, they should be limited to a maximum of ten people, each attendee should have a mask
  covering their mouth and nose at all times, and a distance of six feet should be maintained.

• Discourage carpooling.

• Increase physical space between employees and customers (e.g., drive through, Plexiglas
  partitions).

• Deliver services remotely (e.g. phone, video, or web) where practical.

• Deliver products through curbside pick-up or delivery when possible.

• Workplaces with Multiple Shifts:

    o Where ever possible, utilize nights and weekends to spread out work schedules and
       provide for social distancing.

    o If possible, move from 1 or 2 shifts to 3 shifts. Keep each shift with the same people each
       day. That way, if a person on one shift becomes sick, workers on the other shifts are
       protected. This arrangement can also work by having one crew work for part of the week
       and one crew for the other part of the week. This may also accommodate shifting child
       care schedules.

    o Provide time where possible between each work shift to minimize overlap and allow for
       cleaning of the work environment at regular and appropriate intervals.

    o Stagger shift start/stop times, break times, and lunchtimes to minimize congregations at
       the time clocks or break areas.

• Where possible, close or restrict break rooms and cafeterias and have employees bring
  lunches from home and eat at workstation or in cars.

• If an employer does maintain break or lunch rooms, utilize extra rotations to reduce the
  number of employees in the break room/cafeteria at one time to achieve social distancing
  norms. Provide soap and water, or within available supplies, hand sanitizer and/or disposable
  wipes in break or lunch rooms and clean them after every shift.

• Increase ventilation rates and increase the percentage of outdoor air that circulates into the
  system where possible.
 • Wherever possible, segment the workspace into discrete zones. Prohibit employees from
   entering into zones where they are not required to be to perform their jobs.

 • Manufacturing- Shutdown the facility when production is not needed whenever practical (even
   if you ramp on and off on a daily basis).


Eliminating transmission points

 • Reduce common touch points by opening internal doors where possible.

 • Install all no-touch disposal receptacle or remove lids that require contact to open for non-
    hazardous waste containers unless doing so creates an unsanitary environment.

 • Frequent cleaning of all touch points.

 • Secure all secondary doors and access points to minimize incidental contact.

 • Recommended to provide disposable wipes so that commonly used surfaces (for example,
   doorknobs, keyboards, remote controls, desks, other work tools and equipment) can be wiped
   down.

 • To disinfect surfaces, use products that meet EPA's criteria for use against SARS-Cov-2
   (httP-s://WWW.eP-a.gov/P-esticide-registration/list-n-disinfectants-use-against-sars-cov-2) and
   are appropriate for the surface.

 • Prohibit workers from using other workers' phones, desks, offices, or other work tools and
   equipment, when possible. If shared, clean and disinfect equipment before and after use.

 • Employees should clean their personal workspace at the beginning and the end of every shift.

 • If a sick employee is suspected or confirmed to have COVID-19, follow the CDC cleaning and
   disinfection recommendations.


Guidelines for essential employees

 • Employees who are ill should stay home.

 • Where possible, employees should take their temperature before they go to work. If they have
   a temperature above 100.4 degrees Fahrenheit, they should stay home.

 • Make hand sanitizer available to employees who do not have ready access to soap and water.

 • Place posters that encourage hand hygiene to help stop the spread at the entrance to your
   workplace and in other workplace areas where they are likely to be seen.

 • Whether at work or at home, all employees are advised to follow the CDC guidelines for
   P-reventing transmission of COVID-19 (httP-s://www.cdc.gov/coronavirus/2019-ncoviP-revent-
   getting-sick/P-revention.html) including:
       o Washing hands frequently for at least 20 seconds, avoiding touching mouth and nose,
          avoiding close contact with others, cleaning and disinfecting surfaces, using cough and
          sneeze etiquette, and staying at home when sick.


Guidelines for emP-loyees who had close contact with a P-erson with symP-toms of or have
been diagnosed with COVID-19:

 • Specific guidance for healthcare workers and first responders can be found here
      (httP-s:I/P-ortal.ct.gov/-/media/DeP-artments-and-Agencies/DPH/Facility-Licensing=
      lnvestigations/Biast-Faxes/Biast-Fax-2020-29-UP-dated-Guidance-for-COVID-19.P-df?la=en/).

 • Do not go to work.

 • Notify your supervisor

 • Isolate yourself from the rest of the people in your home.

 • Consult your healthcare provider.

 • Practice home isolation as recommended by your health care provider.


Guidelines for workplace illness:

Guidelines if an employee is exP-osed to (httP-s://www.cdc.gov/coronavirus/2019-
ncov/community/critical-workers/imP-Iementing-safety.:P-ractices.html) or diagnosed with COVID-
19:

 • Employees who have symptoms (i.e., fever, cough, or shortness of breath) should notify their
      supervisor and stay home.

 • Sick employees should follow CDC-recommended steP-S
      (httP-s://www .cd c.govI co ro navi rus/20 19-ncov/if-you-a re-s ick/ste P-S-wh en-sick. htm I).
      Employees should not return to work until the criteria to discontinue home isolation are met,
      in consultation with healthcare providers and state and local health departments.

 • Employees who are well but who have a sick family member at home with COVID-19 should
      notify their supervisor and follow CDC recommended precautions.

 • If an employee is confirmed to have COVID-19 infection, employers should:

       o inform fellow employees of their possible exposure to COVID-19 in the workplace but
          maintain confidentiality as required by the Americans with Disabilities Act (ADA). The
          fellow employees should then self-monitor for symptoms (i.e., fever, cough, or shortness
          of breath).

       o Ventilate areas visited by that individual.
      o Clean and disinfect all impacted spaces, especially commonly used rooms and shared
        equipment.
 • Employees should not return to work until the criteria to end home isolation is met as
    instructed in consultation with healthcare providers and state and local health departments.


Additional rules specific to construction sites:

 • Clean portable bathrooms no less than every 2 days.

 • Require employees to travel separately to and from, and within, worksites.

 • Reschedule work to maximize the amount of work being performed outdoors, limit indoor or
    work lacking significant fresh air.

 • Shift work to limit the size of the crews on the jobsite, especially indoors.

 • Rotate lunch and coffee break shifts, requiring workers to follow the CDC social distancing
    guidelines during meals or breaks.

 • Follow all safety and health protocols when using an elevator.

 • Provide an adequate supply of PPE, including but not limited to cloth face masks, gloves, hand
    sanitizer or soap and water.


Finally, for essential retailers, we have put out Essential Safe Store Rules
(/DECD/Content/Coronavirus-Business-Recovery/Essentiai-Safe-Store-Rules) which will continue
to guide safety in those locations for Employees and Customers.
